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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TENNESSEE
                                       EASTERN DIVISION

__________________________________________________________________________________

                                            )
UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
VS.                                         )                      CR. NO. 1:18-10074-STA
                                            )
AMBER PERRY,                        )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on November 20, 2018, Assistant United States Attorney, Matt
Wilson, appearing for the Government and the defendant, Amber Perry, appearing in person, and with
counsel, Josh Morrow.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 2 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for FRIDAY, FEBRUARY 22, 2019 at 10:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is to remain released on present bond.

       ENTERED this the 20th day of November, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
